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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ERICKA NEWBY, individually and on behalf
 of all others similarly situated,

                        Plaintiff,                     Case No. 15-3880

 v.                                                   NOTICE OF VOLUNTARY
                                                      DISMISSAL
 RITAS WATER ICE FRANCHISE
 COMPANY LLC d/b/a RITA’S FRANCHISE
 COMPANY, a Pennsylvania limited liability
 company, and JOHN DOES 1-100,

                        Defendants.


      PLEASE TAKE NOTICE that Plaintiff Ericka Newby, pursuant to Rule 41(a)(1) of the

Federal Rules of Civil Procedure, hereby voluntarily dismisses this lawsuit against Defendant

Rita’s Water Ice Franchise Company LLC (“Rita’s” or “Defendant”) without prejudice.

      Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:

      (a) Voluntary Dismissal.

      (1) By the Plaintiff.
      (A) Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2 and 66 and any
      applicable federal statute, the plaintiff may dismiss an action without a court order
      by filing:

           (i) a notice of dismissal before the opposing party serves either an answer or a
           motion for summary judgment; or

           (ii) a stipulation of dismissal signed by all parties who have appeared.

           (B) Effect. Unless the notice or stipulation states otherwise, the dismissal is
           without prejudice. But if the plaintiff previously dismissed any federal- or state-
           court action based on or including the same claim, a notice of dismissal operates
           as an adjudication on the merits.
      In this case, Defendant has neither answered Plaintiff’s Complaint nor served a motion for

summary judgment. In addition, no class has been certified in this matter so Rule 23’s exceptions

do not apply. Likewise, this case does not involve any Receiver so as to implicate Rule 66.

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     Accordingly, Plaintiff hereby dismisses these proceedings without prejudice in accordance

with Rule 41(a)(1). The claims of the unidentified putative class members, if any, are also

dismissed without prejudice.

Dated: October 5, 2015                       ERICKA NEWBY, individually, and on behalf of
                                             all others similarly situated,



                                              By:   /s/ Steven L. Woodrow

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                                             Counsel for Plaintiff and the Putative Class

                                             *pro hac vice




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